561 F.2d 1213
    TEXPORTS STEVEDORE COMPANY, and Texas Employers' InsuranceAssociation, Petitioners,v.Murl J. WINCHESTER and Director, Office of Workers'Compensation Programs, U. S. Department of Labor,Respondents.
    No. 76-4100.
    United States Court of Appeals,Fifth Circuit.
    Dec. 16, 1977.
    
      E. D. Vickery, W. Robins Brice, Houston, Tex., for petitioners.
      Alfred G. Albert, Act.  Sol., Laurie M. Streeter, Assoc.  Sol. of Labor, Washington, D.C.  (for Director, Office of Workers' Com. Programs), Ronald E. Meisburg, Atty., Washington, D.C., for respondents.
      ON PETITION FOR REHEARING AND PETITION FOR REHEARING EN BANC
      (Opinion June 20, 1977, 5 Cir., 1977, 554 F.2d 245)
      Before GOLDBERG, CLARK and FAY, Circuit Judges.
      PER CURIAM:
    
    
      1
      The following changes are being made in the opinion as published by withdrawing the next to last paragraph as it appears on page 3915, and substituting therefor the following language:
    
    
      2
      "Respondent's accident did not occur on the dock or pier adjoining the Houston Shipping Channel but at a gear room which, though five blocks away, adjoined the docks and associated buildings.  See Alabama Dry Dock and Ship Building Co. v. Kininess, 554 F.2d 176, 178 (5th Cir. 1977)."
    
    
      3
      In all other respects, the Petition for Rehearing is DENIED and no member of this panel nor Judge in regular active service on the Court having requested that the Court be polled on rehearing en banc (Rule 35, Federal Rules of Appellate Procedure; Local Fifth Circuit Rule 12), the Petition for Rehearing En Banc is DENIED.
    
    